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EXHIBIT G
Case 4:21-cv-00733 Document1-7 Filed 09/22/21 Page 2 of 34 PagelID #: 98

TO: Tonya Jacobson, Employee Relations Manager

FROM: Toni P. Jenkins, Sr. Vice-President of Campus Operations fy
DATE: March 4, 2021

RE: Response to Complaint Case 185 - Suzanne Jones

During her years at the Collin College, Professor Jones has demonstrated several characteristics of an
excellent faculty member as outlined by the Council on Excellence (CoE), the college’s peer review
committee. Professor Jones has had positive classroom evaluations and student evaluations of
instruction. She stays current in her field and has been engaged in college service throughout her
employment. On the basis of these factors alone, | would not have made a recommendation to non-
renew her contract. However, these are not the only factors that are evaluated or considered for a
faculty member who is seeking contract renewal.

l. Contract Status

Professor Jones was hired as a full-time professor in 2012. She is currently on a three-year contract
which ends on May 14, 2021. She was being considered for a contract renewal to begin in fall 2021. To
recap the process:

e In August 2021, Professor Jones was recommended for a contract renewal by Associate Dean
Alexis Cade and Dean Garry Evans.
e Subsequently, she was recommended by Campus Provost Abe Johnson on November 2, 2020.
e On January 13, 2021, | recommended non-renewal of Professor Jones’ contract. In addition to
the characteristics of an excellent faculty member outlined by the Council on Excellence (CoE), |
also considered criteria outlined in Board Policy DH (Exhibit) (Exhibit A), which includes:
o Whether the faculty member advances the vision and mission of the college,
o Whether the faculty member follows established policies, procedures and channels of
communication,
o Whether the faculty member serves effectively on committees, task forces, or other
planning structures, which is part of our shared governance responsibilities,
o Whether the faculty member adheres to our core values,
© Whether the faculty member collaborates well or professionally with other faculty and
staff, and others.
e In other words, contract renewals are evaluated from many different perspectives, not simply
from one set of CoE factors.

Il. Recommendation to Non-renew

My recommendation to non-renew was made after a thorough review and was based on the following
considerations:

e In 2017, Professor Jones was counseled by her dean at that time regarding her use of the
college’s name when linked to expressions of her personal opinions. In fall 2020, Dean Evans
had to counsel Professor Jones about the improper use of the college’s name.
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e Asanemployee, the college expected Professor Jones to work collaboratively through shared
governance to achieve the vision and mission of the college. This past year posed many
challenges, but once the Board of Trustees approved the reopening of the college, there was an
expectation that such collaboration would continue. This did not occur. Professor Jones took
indirect means to exert external pressure on the college to not reopen as planned and to
challenge operational decisions. This conduct directly undermined decisions made by the Board
of Trustees for the college.

e Professor Jones did not express her concerns through normal channels of communication
through direct conversations with her associate dean, dean, campus provost, or other
administrators. Working outside of available communication lines or committee structures is not
productive and it is not something that is expected from faculty members.

Il. My recommendation for non-renewal was not based on:

A. Membership in the Texas Faculty Association (TFA):

Professor Jones is welcome to join any external organization she chooses to join, as is any
employee of the college. In fact, Dean Garry Evans congratulated her on being elected secretary
of the TFA in June, 2020 (Exhibit B). It is the use of the college’s name in connection with such
membership that is the issue. My recommendation for non-renewal of Professor Jones did not
have anything to do with her being a member of TFA.

B. Email regarding a session proposed for the Spring Faculty Development
Conference

On December 10, 2020, | met with Dr. Boye, Director of the Center for Teaching and Learning, to
review plans for the Spring 2021 Faculty Development Conference. On December 11, after
receiving additional information, | asked Dr. Boye to remove a session entitled “Finding Your
Voice” because it did not fit with the theme of the conference, which was “Teaching and
Learning through Change.”

On December 15, 2020, | received an email from the President of Faculty Council stating that
some members of Faculty Council had requested clarification regarding why this session had
been removed from the Faculty Development Conference program. | replied that based on the
session description, the session appeared to be unrelated to the conference’s goals of improving
teaching and student learning and it did not fit the over-arching theme of the conference. |ama
person of integrity and would never use one email indicating who had raised such a question as
the basis for non-renewal. My recommendation to non-renew Professor Jones was not done in
retaliation to any communication related to the Faculty Development Conference.

IV. Professor Jones’ misuse of the college’s name
In August 2017, Professor Jones was counseled about her use of the college’s name when linked to

expressions of her personal opinions, which is a violation of Board policy. Professor Jones had signed a
petition that was used in a news article using her title as “education professor, Collin College” (Exhibit
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C). Other faculty members also signed the petition, but many identified themselves in their individual
capacities as “professor,” “historian” or “independent scholar” without using the name of the college.
Professor Jones’ conduct created an impression that she spoke on behalf of the college, which is a
violation of Board policy DGC(Local). Professor Jones was instructed by her dean at that time that she
should observe the requirements of Board policy DGC(Local) and that she should not engage in actions
that could inadvertently create the impression that she was speaking on behalf of the college.

In the fall of 2020, the college was forced to again discuss with Professor Jones the misrepresentation
created by the improper use of the college’s name. In late September, 2020, | was asked by the
president of the Faculty Council if a faculty member could make an announcement about joining TFA at
their next Faculty Council meeting. | was not familiar with the organization so | did some research.
According to the TFA website, the organization is a labor organization affiliated, in part, with the
National Education Association (NEA) which identifies itself as follows:

The National Education Association is the largest labor union and professional interest group in
the United States. It represents public school teachers and other support personnel, faculty and
staffers at colleges and universities, retired educators, and college students preparing to
become teachers.

| found that “Collin College” was listed as a member institution and “Collin College-Plano” was listed for
contact information on the TFA website. This is a serious misrepresentation of the college’s name and
another violation of DGC (Local) (Exhibit D). Neither the college nor the Plano Campus as a whole are
affiliated with TFA. | informed the Faculty Council president that there was nothing to prohibit someone
from joining this organization, but the college would not authorize the use of any time, space or
resources to solicit membership in this organization. Using a Faculty Council meeting to solicit
membership for an external organization should not be permitted.

Professor Jones was also listed on the TFA website as the “chapter contact” for Collin College (Exhibit E);
so on September 24, 2020, | spoke with Dr. Abe Johnson, Plano Campus Provost, and asked him to have
Dean Garry Evans address this with Professor Jones. Dean Garry Evans and Professor Jones exchanged
several communications about this mischaracterization between September 28 and October 9, 2020.
Eventually, Professor Jones indicated that the college’s full name would be removed from the website
by the site’s web developer. This was the second time that Professor Jones had been counseled about
misrepresenting the college, but | assumed that the issue had been addressed and no formal disciplinary
action was required.

Shortly thereafter, in November 2020, | became aware of a “Collin-TFA” Facebook page. Although the
Collin-TFA entity describes itself as a non-profit organization providing services to higher education
advocates, faculty, and personnel on a state-wide basis, the organization is specifically based in Collin
County and also describes itself as the “Collin College chapter” of the TFA (Exhibit F). For me, this again
was misleading. As the self-identified representative and campus contact for TFA, Professor Jones
should have been cognizant of the fact that the college name should not be used on this Facebook page
— especially given her previous discussion and the specific communications she had with Dean Evans.

V. Professor Jones’ failure to work collaboratively through shared governance.
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Professor Jones is a member of Faculty Council and is involved in shared governance sanctioned by the
college. Successful participation in shared governance at the college comes with the responsibility of
accepting and supporting the decisions and strategic goals as determined by the Board of Trustees. The
college’s statement on shared governance requires that individuals distinguish and understand the roles
and responsibilities of various units and individuals within the college’s organizational structure,
including new and established committees, task forces, and councils.

Faculty Council was not the only form of shared governance granted Collin faculty members. All faculty
at the college had been given the opportunity through department and discipline meetings to provide
input related to how to maintain academic continuity and safely return to at least some level of face-to-
face instruction over the late spring and early summer. On June 19, 2020, Associate Dean Alexis Cade
facilitated a Zoom meeting with her full-time faculty members to discuss fall planning, solicit feedback,
and answer questions. This meeting included faculty in education in which Professor Jones teaches.
Associate Dean Cade facilitated a second Zoom department meeting on June 23, 2020.

On July 23, 2020, the college’s Board of Trustees approved the Fall 2020 Restart Plan by an 8-1 vote. The
Restart Plan included providing courses to our students in a variety of instructional modalities due to the
pandemic. Through committees and other structures, college staff worked tirelessly through a shared
governance model to ensure that the college reopened and continued to operate as safely as possible.
The college was conservative in its reopening approach and in looking back at the fall 2020 semester,
approximately 25% of courses were offered fully in-person, with the remainder offered online or ina
blended or hybrid format to accommodate social distancing.

Vi. Professor Jones’ efforts to exert external pressure outside of normal communication
channels

Shared governance allows for diverse opinions to be considered. Everyone will not get what they want,
but their positions can be voiced and considered. However, once strategic or operational decisions are
made, it is my expectation that as an employee, Professor Jones, would have supported those decisions
and worked collaboratively to achieve agreed upon outcomes. That did not occur. Professor Jones did
not work collaboratively and took measures outside of the shared governance structures and normal
communication channels to attempt to exert external pressure on the college not to reopen as planned
or to challenge operational issues, which directly undermines decisions made by the Board for the
college.

| learned of one significant example after my recommendation to non-renew Professor Jones. This was a
Facebook post Professor Jones made as late January 18, 2021, the day before Spring 2021 courses were
starting. In this post she asks readers to “consider emailing the college president, Dr. Makin, and asking
for a simple solution, teachers that can go online until the vaccine is rolled out should go online” (Exhibit
G). Professor Jones did not discuss this issue with her dean, or campus provost or go through available
communication channels and such actions are not consistent with the college’s expectations for
professional conduct from its faculty.

In this Facebook post, Professor Jones also states that “Collin College is requiring many teachers and
students to come back to class face to face.” This is inaccurate. No students were forced to return. No
“teachers” were forced to return. Students have not been required to take face-to-face classes. In fact,
the college developed multiple scheduling options including face-to-face, fully online and a blended or

4
Case 4:21-cv-00733 Document 1-7 Filed 09/22/21 Page 6 of 34 PageID #: 102

hybrid format to provide as much flexibility for students as possible. A process was also developed
whereby faculty could request permission to teach a fully online schedule due to health reasons. Over
90 full-time faculty members taught online in the fall 2020 and spring 2021 semesters. Professor Jones
continued to engage in conduct that is misrepresentative, outside of the shared governance model,
outside of normal channels of communication and aimed at overriding the Board’s decisions and the
college’s operational efforts designed to meet its vision and mission.

Vil.

Professor Jones creation of a false narrative and misinformation in the grievance

A. Misinformation regarding a COVID-19 Tracker

Misinformation is contained in Professor Jones’ grievance that states that on September 25,
2020, | “refused to agree to creation of a COVID-19 tracker.” | met with the Faculty Council via
Zoom on September 25th to discuss safety measures and protocols that had been put in place to
respond to the COVID-19 pandemic. Professor Jones was present for this Zoom meeting. |
explained that notification, quarantine and isolation protocols were being followed for all self-
reported student and employee cases of COVID-19. | further explained that because the college
did not conduct COVID-19 testing, nor did it have qualified healthcare professionals operating a
healthcare clinic, the self-reported symptoms and test results could not be verified. In
consultation with the Director of Safety and Emergency Management, it was determined that
publically posting unverified data would not be responsible and could be misleading.

At the time of the September 25 meeting, the college already had an established process in
place for tracking self-reported cases of COVID-19. The college’s Director of Safety and
Emergency Management was in regular contact with the Collin County Health Department and
CDC guidelines were being followed. Collin College personnel were tracking self-reported cases
since the beginning of the pandemic, but these cases were not being reported on a public-facing
dashboard until near the end of the fall semester for reasons explained to Faculty Council and
others. The grievance misrepresents information that was communicated to Professor Jones
through her participation in shared governance. Additionally, Professor Jones did not share her
concerns about the COVID-19 tracker with her dean, campus provost of myself. These
allegations are inaccurate.

B. Misinformation regarding other faculty who have openly indicated that they are
professors at Collin College on professional association websites and have included
links to their own Collin College emails:

Faculty are encouraged to be involved in professional development organizations and their
involvement is a source of pride for the college. To compare the Texas Faculty Association with
TCCTA is a misrepresentation. The TFA is a union whose mission and goals are focused on
protecting employees’ rights, advancing the tenure system, advancing fair and equitable
compensation, etc. (Exhibit H).
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Vill.

The TFA mission and goals are very different from the Texas Community College Teachers
Association or other professional development organizations recognized and supported by the
college. According to the TCCTA website:

TCCTA is an independent and autonomous association, not affiliated with any other
state or national organizations. According to its constitution, TCCTA is dedicated “to the
pursuit of excellence in teaching and the advancement of education in the community,
junior, and technical colleges of Texas.”

As documented in the grievance, Collin College celebrates and encourages affiliation with
organizations that support excellence in teaching and learning and will continue to do so.

Appropriate and permissible reasons for non-renewal:

To be clear, Professor Jones was issued a notice of nonrenewal in accordance with policies requiring
such notification prior to January 31, 2021. My recommendation to not offer Professor Jones a contract
renewal is based on her conduct and is not a violation of her right to freedom of speech. In summary:

In August 2017, Professor Jones was counseled about her misuse of the college’s name when it
was linked to expressions of her personal opinions. The college does not allow employees to
create the impression that they are speaking on behalf of the college and she had done so.

In the fall of 2020, her dean again brought this issue to her attention since she was listed as the
representative for the Collin College - Plano Campus Chapter of the Texas Faculty Association
and the college was named as a member of TFA. At the time, it appeared that Professor Jones
understood the gravity of the issue.

Shortly after that a Facebook page for Collin-TFA was posted. The organization touts itself as the
“Collin College chapter” of the TFA. Professor Jones who is the self-identified contact for TFA
should have seen that this misuse of the college’s name was corrected.

In addition, as a member of Faculty Council, Professor Jones is an active participant in shared
governance, she was able to freely share her concerns and opinions; however, once decisions
were made about the reopening of the college, faculty conferences, or other matters, she and
all participants in shared governance are expected to work collaboratively to support the
college’s decisions.

Instead of accepting the decisions and working through approved channels of communication,
Professor Jones worked against the college through indirect means and outside the shared
governance structures at the college.

Conclusion:

While recognizing Professor Jones’ positive classroom evaluations and student evaluations of teaching, |
stand by my recommendation to non-renew her contract. This recommendation was based on Professor
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Jones’ conduct for which she had been counseled and conduct which was inconsistent with other factors
considered throughout the contract renewal process. | welcome the opportunity to provide information
or answer any questions from the panel.
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EXHIBIT A
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043500

EMPLOYEE STANDARDS OF CONDUCT DH
(EXHIBIT)

Code of Professional Ethics

Since all College District employees interface with or serve students, the College District
holds all of its employees to the ethical standards of professional educators as expressed in
the Texas Community College Teachers Association Code of Professional Ethics (PDF)' set
forth in large part below:

1. The Professional Educator shall treat all persons with dignity and respect; discriminating
against no one on any basis protected by law.

2. The Professional Educator shall strive to help each student realize his or her full poten-
tial as a learner and as a human being.

3. The Professional Educator shall by example and action encourage and defend the un-
fettered pursuit of truth by both colleagues’ and students supporting the free exchange
of ideas, observing the highest standards of academic honesty and integrity, and seek-
ing always an attitude of scholarly objectivity and tolerance of other viewpoints.

4. The Professional Educator shall work to enhance cooperation and collegiality among
students, faculty, administrators, and other personnel.

5. The Professional Educator shall recognize and preserve the confidential nature of pro-
fessional relationships, neither disclosing nor encouraging the disclosure of information
or rumor, which might damage or embarrass or violate the privacy of any other person.

6. The Professional Educator shall maintain competence through continued professional
development, shall demonstrate that competence through consistently adequate prepa-
ration and performance, and shall seek to enhance that competence by accepting and
ap-propriating constructive criticism and evaluation.

7. The Professional Educator shall make the most judicious and effective use of the Col-
lege District's time and resources.

8. The Professional Educator shall fulfill the employment agreement both in spirit and in
fact, shall give reasonable notice upon resignation, and shall neither accept tasks for
which he or she is not qualified nor assign tasks to unqualified persons.

9. The Professional Educator shall support the goals and ideals of the College District and
shall act in public affairs in such a manner as to bring credit to the College District.

10. The Professional Educator shall not engage in unlawful harassment or sexual harass-
ment of students or colleagues and shall adhere to the College District’s policies on un-
lawful harassment and other conduct.

 

' The term “colleague” refers to all persons employed by or who contracts with the College District.

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EMPLOYEE STANDARDS OF CONDUCT DH

(EXHIBIT)

11. The Professional Educator shall observe the stated policies and procedures of the Col-
lege District, reserving the right to seek revision in a judicious and appropriate manner.

12. The Professional Educator shall participate in the governance of the College District by
accepting a fair share of committee and institutional responsibilities.

13. The Professional Educator shall support the right of all colleagues to academic freedom
and due process and defend and assist a professional colleague accused of wrongdo-
ing, incompetence, or other serious offense so long as the colleague’s innocence may
reasonably be maintained.

14. The Professional Educator shall not support a colleague whose persistently unethical
conduct or professional incompetence has been demonstrated through due process.

15. The Professional Educator shall accept all rights and responsibilities of citizenship, al-

ways avoiding use of the privileges of his or her public position for private or partisan
advantage.

 

1 Texas Community College Teachers Association Code of Professional Ethics (PDF):
http://www. tecta.org/wp-content/uploads/2016/01/T CCTA-Ethics. pdf

DATE ISSUED: 7/14/2020 2 of 2
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EXHIBIT B
Case 4:21-cv-00733 Document 1-7 Filed 09/22/21 Page 13 of 34 PagelID #: 109

From: Garry Evans

Sent: Friday, June 12, 2020 8:49 AM
To: Suzanne E. Jones

Ce: Alexis Cade

Subject: Re: Another state office!

Congratulations Suzanne! Great work!

Garry

Garry W. Evans, D.M.A.

Dean of Academic Affairs & Workforce
Collin College

2800 E. Spring Creek Parkway, A177
Plano, TX 75074

972.881.5807

 

From: Suzanne E. Jones <sejones@collin.edu>

Sent: Friday, June 12, 2020 8:38 AM

To: Garry Evans <gevans@collin.edu>; Alexis Cade <acade @collin.edu>
Subject: Another state office!

Just fyi in case this is good information for the college. | was just elected secretary of Texas Faculty
Association.

Suzanne Jones, Ed.D.

Professor of Education

Service Learning Faculty Coordinator - Frisco Campus
Collin College

sejones@collin.edu

Office: LH173-Frisco Campus

Phone Number: 469-365-1813
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EXHIBIT C
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Che Dallas Morning News 2

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‘So glad y'all came.’ Corpus ‘Beyond problematic’: Dallas County adds 50
Christi firefighters deliver Panhandling needs more COVID-19 deaths,
COVID-19 vaccine to the enforcement in Dallas,some _ shattering 1-day record

homes of vulnerable Texans council members say

OPINION

Dallas' Confederate

memorials scream ‘white
supremacy'

Monuments monumentally endorse a set of values.

Featured

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TIMELESS IN TEXAS >

The Confederate Memorial is pictured at Pioneer Park in
downtown Dallas, Tuesday, July 18, 2017. Dallas is looking at CURIOUS TEXAS >
the history of its Confederate monuments and considering

whether they should be removed, relocated or PUBLIC NOTICES >
Case 4:21-cv-00733 Document 1-7 Filed 09/22/21 Page 16 of 34 PageID #: 112

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G26 Att on Ala 4, 2077

(>) Listen to thes article now

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If someone is supposedly a hero fighting for
cause, then the cause that person fought for
must have been heroic as well. A monument
to a movement or nation or event inherently
defines that movement, nation, or event as
being glorious, Monuments monumentally
endorse a set of values.

This effort to shape the public's
understanding of the past is a method of
shaping the values of the present. And every
Confederate monument standing today
loudly proclaims that, whatever might be
said about civil rights and racial equality in
contemporary political discourse, the
enduring values of this place, this city, and
this people is white supremacy.

As Kathryn Allamong Jacob masterfully
explains in her book, Testament to Union:
Civil War Monuments in Washington, D.C.:
“Mundane as they may appear, ubiquitous a
they may be, public monuments constitute
serious cultural authority. They are
important precisely because, by their mere
presence and their obvious expense, they

impose a memory of an event or individual
on the pubiic iandscape that orders our
lives."

Confederate names
and monuments in Dallas

Monuments in public spaces represent what
the city, county, state or nation seeks to
represent as its core beliefs. They shape
identity, and shaping identities and
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"I turned around to walk back up Monument
Avenue, fecling angry and confused ... I had
spent about an hour walking along a road in
which four men who fought to enslave me ...
have been honoured and exalted. I resented
the fact that on the way to work every day,
black people have to look at that. Imagine
how black children must feel when they learn
that the people who have been raised and
praised up the road are the same ones who
tried to keep their great-great-grandparents
in chains.”

Confederate monuments are an ongoing
source of alicnation. We should not be
surprised that when alienation is taught in
schools, in political debates, and in public
spaces that young people receive the message
and become alienated themselves.

Remove the memorials

This city has a massive Confederate War
Memorial near the Dallas Convention Center.

This work features statues of Confederate
generals Robert E. Lee, Stonewall Jackson
and Albert Sidney Johnston, as well as the
Canfederacy’s only president, Jefferson
Davis. The figures surround a statue of a
Confederate soldier atop a 60-foot pillar. One
inscription on the monument pays tribute to
"the genius and valor of Confederate
seamen.”

We
have

re >

Robe

mE.

Lee

Park

in

Oak

Lawn

that features an equestrian statue of the
commander of the Army of Northern Virginia
near a replica of a slavery-era plantation
home. Multiple sculptures referencing the
Confederacy and the Great Seal of the
Confederate States of America can be found
at Fair Park. A Confederate flag hangs at Fair
Park's Great Hall, which also includes a
massive medallion on one wall incorporating
a female figure representing the Confederacy.
A mural featuring portraits of Confederate
generals John Bell Hood, Albert Sidney
Johnston and Dick Dowling adorns another
wall,
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the overseer, who, however, had sufficient
humanity to decline whipping us; accordingly
Dick Williams, a county constable, was called
in, who gave us the number of lashes
ordered; Gen. Lee, in the meantime, stood
by, and frequently enjoined Williams to lay it
on well, an injunction which he did not fail to
heed; not satisfied with simply lacerating our
naked flesh, Gen. Lee then ordered the
overseer to thoroughly wash our backs with
brine, which was done.”

During the Civil War Lec stated that slavery
represented the most appropriate
relationship between whites and African-
Americans since African-Americans were an
inferior race. After the Civil War, Lee
campaigned against granting African-
Americans civil rights. He stated in testimony
to the Reconstruction Committee of Congress
that Virginia would be better off if it got rid of
African-Americans.

This is the man families honor when they
hold weddings at Lee Park at the replica of
Arlington House. Consciously or not, they
celebrate their marriage by paying tribute to
the slave past. For this reason, the clergy
should not agree to perform weddings at
Arlington House. Whatever the resolutions,
position papers or published policies of
denominations might be regarding race,
whatever fine phrases these proclamations
might say, religious leaders of prominent
churches, temples and other places of

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worship who perform marriages at the
Arlington House replica in Dallas will be
complicit in a Robert E. Lee plantation
wedding.

Organizations that meet at the replica
plantation house show contempt for African-
Americans as well. When the owners of
properties like The Claridge, 21 Turtle Creck,
3525 Turtle Creek, The Mayfair, The
Vendéme and The Wyndemere take part in
lighting up Lee Park, we see how the upper
classes of Dallas embrace a duplicate Robert
E. Lee plantation and adorn it to eclebrate
the birth of Christ. What does it say about the
Dallas Christian community that this doesn't
raise a cry of disgust?

 

The Confederale Memorial in Greenwood Cemetery in Dalia:
+ across Central Expiettway fom Cry Place in Uptows
Photographed Wednesday, August 2, 2017, (Guy
Reyoolds/The Dallas Morning News) (Guy Reynolos)

Secession was about
slavery

These monuments glorify violent
insurrectionists who sought to tear the
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against us, so long as a negro slave remains
in these States ...

That in this free government all white men
are and of right ought to be entitled to equal
civil and political rights; that the servitude of
the African race, as existing in these States, is
mutually beneficial to both bond and free,
and is abundantly authorized and justified by
the experience of mankind, and the revealed
will of the Almighty Creator, as recognized by
all Christian nations; while the destruction of
the existing relations between the two races,
as advocated by our sectional enemies, would
bring inevitable calamities upon both and
desolation upon the fifteen slave-holding
States.”

To its shatne, Dallas still honors the
Confederacy, its institution of slavery and
Confederate leaders. It is time for these
memorials to come down, Some will argue
that the Confederate monuments are
“history.” There is a fundamental difference,
however, between history and propaganda.
History does not have as its primary object
glamorization. History is about analysis,
context and explanation of the origins of
ideas, institutions and events. Confederate
memorials do none of these things.

ma. —=4>

 

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Published August 30, 1962 - Rebel relatives redodcoted the
Confederate Monurmont Sunday mn Pioneer Cemetery - 3
Qroveyard where the markers read bke Dallas street sans
CJOE LAIRD - ste'f photogrephe: / DMN file photo)

True Dallas heroes to
memorialize

We should not continue to honor the
Confederacy even as there are people who
played a critical and positive role in Dallas
history who receive inadequate or no tribute
such as:

The African American slaves and
sharecroppers whose unpaid labor built
the city's and the county's economy.

Carl Brannin, who fought for the
rights of workers in Dallas.

Maceo Smith, who led voter
registration and poll tax payment drives in
Dallas and was the man most responsible for
Case 4:21-cv-00733 Document 1-7

a Republican governor accused of ushering in

an era of “negro domination,”

As New Orleans Mayor Mitch Landrieu said
after the removal of the Lee statue in his city,
“To literally put the Confederacy on a
pedestal in our most prominent places of
honor is an inaccurate recitation of our full
past. It is an affront to our present, and itis a
bad prescription for our future."

 

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somal oo Rosser Pak Cemetery in Dates 05 Wed esta,
Jute 24,2055 (Monael Reaves ‘Tre Dales Mermna News}
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3 things Dallas can do

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More and more cities are choosing to give up
the Confederacy. We can do this also, if we
are willing to confront the reality of what
these Dallas Confederate monuments do.

1. We ask the citizens of Dallas to stop
holding weddings, celebrations or
other events at Robert E. Lee Park or
any other location that celebrates or attempts
to honor the Confederacy, and decline
invitations to such events. We ask religious
leaders not to perform weddings at Robert E.
Lee Park or any other locations that celebrate
the Confederacy, and we ask businesses to
decline to provide goods or services at such
venues.

2. We ask the city of Dallas to remove
all Confederate monuments, We ask the
city to eliminate Confederate place names
such as Robert E. Lee Park and Confederate
Drive. We ask the city not to celebrate or
promote the Confederacy with sculpture and
art work at Fair Park,

3. We ask Dallas ISD to rename all
schools named after Confederate
leaders: William Cabell, William H. Gaston,
John Ireland, Sidney Lanier, Stonewall
Jackson, Albert Sidney Johnston, John H.
Reagan, and Oran M. Roberts and to not give
the schools dual names under the pretext of
historical preservation.

We ask the city of Dallas, the Dallas
Independent School District, Dallas cultural
Case 4:21-cv-00733 Document 1-7

Crista J. DeLuzio, associate history professor,
SMU

Darryl Dickson-Carr, chair and professor,
Department of English, SMU

W. Marvin Dulaney, associate history
professor emeritus, University of ‘Texas at
Arlington

Jeffrey A. Engel, history professor and
director, Center for Presidential History,
SMU

Wendy Fenn, retired associate minister for
congregational life, Presbyterian Church USA

Neil Foley, history professor and co-director,
Center for Southwest Studies, SMU

Dennis Foster, English professor, SMU

Michael Gregg, pastor, Royal Lane Baptist
Church

Rick Halperin, director of the Embrey
Human Rights Program, SMU

Kenneth M. Hamilton, associate history
professor and director of ethnic studies, SMU

Hanan Hammad, associate history professor,
‘Texas Christian University

Author of Industrial Sexuality, Urbanization,
and Social Transformation in Egypt.

Carl Hasler, independent scholar

Ben Anderson David Hensley, associate
pastor of worship and discipleship, Oak Lawn

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United Methodist Church

Constance Hilliard, history
professor, University of North Texas

Jeff Hood, theologian

Robert Hunt, director of Global Theological
Education and director of the Center for
Evangelism and Missional Church

Studies, Perkins School of Theology at SMU

Mike Itashiki, sociology professor, Richland
College

Suzanne Jones, education professor, Collin
College

Max Krochmal, associate history professor
and director, Comparative Race and Ethnic
Studies, TCU

John Richard Lundberg, history
professor, Tarrant County College

George A. Mason, senior pastor, Wilshire
Baptist Church

Henry L. Masters, Sr., retired pastor,
Hamilton Park, St. Paul and St. Luke
Community United Methodist Church

Alexis McCrossen, history professor, SMU

Donta McGilvery, founder, Dallas
Improvement Association, First Institutional
Baptist Church

Andrew Milson, professor and associate
chair, Department of History, UT Arlington
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William Carlisle, Bethel African Methodist
Episcopal Church

Ben A. David Hebskey, Oak Lawn United
Methodist Church

Elena Bonifay, chief operating officer, The
Dallas Weekly

Joreaner Stimpson, Joy Tabernacle AME
Church

Sherry Stewart, Trietsch Memorial United
Methodist Church

Dr. Adrian Clarke

Tom Green, retired First Assistant Attorney
General of Texas

Marjorie Hamilton Scott. St Luke AME
Church

Hillary Owen, Highland Park United
Methodist Church

Lilly Neubauer, Northaven United Methodist
Church

Imam Abdul Nasir Jangda, Qalam Institute
and Mansfield Islamic Center

Imam Yascr Birjas Issa, Valley Ranch Islamic
Center

Danie! Roby, executive director, Austin Street
Center

Pamela Young, community leader and
activist, Faith In Texas and Mothers Against
Police Brutality

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Nadim Bashir, imam/head of religious
affairs, EPIC East Plano Islamic Center

David Gruber, Interfaith Wedding Rabbi
Victoria Henderson, public school teacher

Abdul Rahman Bashir, imatn and religious
director, Islamic Association of Allen

Lisa McCarthy Stewart, director of outreach
and missions, Highland Park United
Methodist Church

Judith Kubliski, member, Community
Unitarian Universalist Church-Plano

Khalid Shahid, imam, Dallas Masjid Al Islam

Muhammed Rizwan, Bangladesh Muslim
Center

Jonathan Grace, Church at the Square, City
Square

Patrick Salvant, The Oak Cliff Media
Company

Hafsa-Wania Mohammed, student, UT
Dallas

Sandra Farlow, Community Unitarian
Universalist Church

Almas Muscatwalla, community
volunteer, Faith Forward Dallas

Harbhajan Singh Virdee, Gurdwara Nishkam
Seva

Jacqueline Marie Powers
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Sandra Wilkinson, Marjorie von Wilkinson
Stephens Foundation

Ashley Austin-Hill, Joy Tabernacle A.M.E
Church

Michelle Landry, student, UT Dallas

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Michael Phillips|Contributor

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awaits the Hall of Fame call
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EXHIBIT F
@

 

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tfa@tsta.org
https://www.texasfacultyassociation.org/

The Collin College chapter of the Texas Faculty
Association is a non-profit organization
empowering higher education advocates, faculty,
and personnel statewide. We are based in Collin
County, Texas.

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Send Message
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EXHIBIT G
 

Top Pests SORT

> Suzanne Stateler Jones
7 3p

Tomorrow Collin Coilege is requiring
many teachers and students to
come back to class face to face.
This will affect each and every one
of you throughout the county as the
Fall research shows (see CNN link
below) Our state is beqging Texans
to buckie down. Please consider
emailing the college president, Or,
Matkin, and asking for a simpie
solution, teachers that can go online
until the vaccine ts rollec out should
go online. Leave the face to face
option for the classes that can't be
conducted online. This would mean
safer conditions for those teaching
face to face, thousands of students
and teachers, ard all of you.
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EXHIBIT H
Case 4:21-cv-00733 Document 1-7 Filed 09/22/21 Page 34 of 34 PageID #: 130
TEXAS FACULTY ASSOCIATION MISSION STATEMENT AND BYLAWS
MISSION STATEMENT

The Texas Faculty Association, the statewide affiliate of the Texas State Teachers
Association and the National Education Association, will unite, organize, and empower
higher education advocates, faculty, and personnel to provide a quality education to
every student in higher education in Texas. The Texas Faculty Association operates as a
non-profit organization and is certified by the United States Internal Revenue Service as
a tax-exempt 501 (c) 5 non-profit organization.

GOALS

#1; Establish an association open to all faculty and higher education personnel in
higher education in Texas.

#2: Protect and advance the tenure system as the strongest guarantee of academic
freedom.

#3: Protect and advance academic freedom as a collective necessity for faculty, a
guarantee for the open and unfettered discovery of knowledge, and a necessity for
the maintenance of a democratic society.

#4: Advance the principle of fair and equitable compensation and a fair and
equitable teaching and work environment for all higher education professionals.

#5: Advance higher education personnel participation in higher education
governance.

#6: Develop and support appropriate legislation and public policy concerning higher
education.

#7: Provide opportunities for higher education professionals to exchange ideas,
develop professionally, and work for the common good of higher education in Texas.

#8: Protect higher education employees’ rights.

#9: Work cooperatively with Texas public education professionals K-12 ina community
effort to provide a quality education for every student.

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